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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                    Dallas Division



   CHARLENE CARTER,                                   Civil Case No. 3:17-cv-02278-X

                         Plaintiff,

   V.

   SOUTHWEST AIRLINES CO., AND
   TRANSPORT WORKERS UNION OF AMERICA,
   LOCAL 556,

                         Defendants.



              PLAINTIFF CHARLENE CARTER’S MOTION TO SUPPLEMENT
                THE RECORD ON APPEAL AND INCORPORATED BRIEF

    Pursuant to Federal Rule of Appellate Procedure 10(e)(2)(B), Plaintiff Charlene Carter

 (“Carter”), through her counsel of record, moves the Court to certify and forward to the Fifth

 Circuit Court of Appeals the documents discussed herein for purposes of supplementing the record

 on appeal in Fifth Circuit Case No. 23-10836, Southwest’s appeal (Doc. 470) from this Court’s

 August 7, 2023 Memorandum Opinion and Order Granting Sanctions (Doc. 467) and its Ex Parte

 Addendum to Sanctions Order (Doc. 468).

    Under Fed. R. App. P. 10(e)(2)(B), the district court may certify and forward a corrected or

 supplemental record to the court of appeals before or after the record has been forwarded if

 anything material is omitted from the record. The electronic record on appeal omits exhibits

 admitted into evidence at the contempt hearing as well as sealed ex parte documents that are

 relevant to the Fifth Circuit’s consideration of the appeal in Fifth Circuit Case No. 23-10836 (Docs.

 467, 468).

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    First, Carter requests that this Court certify and forward the following contempt hearing

 exhibits, all of which Carter admitted into evidence during the May 23, 2023 and July 20, 2023

 contempt hearings (Docs. 434, 464):

  Exhibit Name/Number                         Exhibit Title
  Plaintiff’s Exhibit 1                       Court April 18, 2023 Amended
                                              Order Setting Show-Cause
                                              Hearing and Requiring
                                              Discovery
  Plaintiff’s Exhibit 2                       Southwest December 2022
                                              Email String (SWA Show
                                              Cause Docs. 019-021)
  Plaintiff’s Exhibit 5                       Southwest December 2022
                                              Email String (SWA Show
                                              Cause Docs. 011-015)
  Plaintiff’s Exhibit 6                       Southwest December 2022
                                              Email String (SWA Show
                                              Cause Docs. 037-039)
  Plaintiff’s Exhibit 7                       Southwest December 20, 2022
                                              Recent Court Decision Notice
  Plaintiff’s Exhibit 8                       Southwest December 2022
                                              Email String (SWA Show
                                              Cause Docs. 001-003)
  Plaintiff’s Exhibit 9                       Southwest May 4, 2023 Revised
                                              Privilege Log
  Plaintiff’s Exhibit 10                      Southwest December 20, 2022
                                              Inflight Info On The GO
                                              (“IIOTG”) Memo
  Plaintiff’s Exhibit 11                      Carter Counsel December 20,
                                              2022 Letter to Southwest
                                              Counsel
  Plaintiff’s Exhibit 12                      Southwest Counsel December
                                              28, 2022 Response Letter
  Plaintiff’s Exhibit 13                      Southwest December 2022
                                              Email String (Southwest In
                                              Camera Docs. 0005-0009)
  Plaintiff’s Exhibit 14                      Southwest’s January 6, 2023
                                              Response to Carter’s Motion to
                                              Find Southwest in Contempt
  Plaintiff’s Exhibit 15                      Southwest’s May 12, 2023 Brief
                                              Responding to Court Order
  Plaintiff’s Exhibit 17                      Southwest December 2022
                                              Email String (SWA Show
                                              Cause Docs. 027-029)

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     Plaintiff’s Exhibit 18                      TWU Local 556 Executive
                                                 Board August 4, 2022 Letter to
                                                 Southwest


 Carter attaches and files the foregoing documents as exhibits to this motion.

       Second, Carter requests that this Court certify and forward the Court’s ex parte addendums to

 the sanctions orders (Docs. 468 and 469), Southwest’s ex parte hearing exhibits (Docs. 479, 479-

 1 through 479-14), all ex parte testimony from the May 23 and July 20 contempt hearings,

 including the ex parte portions of hearing transcripts (Doc. 441) (Tr. 116:3-118:15); (Doc. 465)

 (Tr. 389:13-519:5), and all other contempt proceedings documents provided to the Court in

 camera.1 All of these documents were previously filed on the Court’s docket under seal or

 submitted to the Court ex parte.

 Dated: September 25, 2023                             Respectfully submitted,

                                                       /s/ Matthew B. Gilliam
                                                       Matthew B. Gilliam (admitted pro hac vice)
                                                       New York Bar No. 5005996
                                                       mbg@nrtw.org
                                                       c/o National Right to Work Legal Defense
                                                       Foundation, Inc.
                                                       8001 Braddock Road, Suite 600
                                                       Springfield, Virginia 22160
                                                       Tel: 703-321-8510
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                                                       Bobby G. Pryor
                                                       State Bar No. 16373720
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                                                       Matthew D. Hill, Of Counsel
                                                       State Bar No. 24032296

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   Notably, the Court has sealed the ex parte documents, the transcript of the ex parte proceedings
 and the Ex Parte Addendum Orders, such that Carter and her counsel cannot access or review
 them. Carter reserves the right to seek access to this information if Southwest’s arguments
 contesting the Contempt Order (Doc. 467) involve the contents of these documents, hearings, and
 findings, such that it becomes necessary for Carter to access that information in order to respond
 or Carter otherwise determines a need for such information. Southwest’s position is that Carter
 and her counsel do not have a right to access the ex parte documents.
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                                           Attorneys for Plaintiff Charlene Carter




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                                      Certificate of Conference

    I hereby certify that I, Plaintiff Charlene Carter’s counsel, Matthew B. Gilliam, emailed

 counsel for Defendant Southwest Airlines Co., Parker Rider-Longmaid and Shay Dvoretzky, and

 counsel for Defendant Transport Workers Union of America, Local 556, Adam Greenfield, on

 September 13, 2023, to discuss filing this motion to supplement the record on appeal. That same

 day, Mr. Rider-Longmaid responded, and said Southwest would aim to respond by the end of the

 week or early the next week.

    On September 21, after receiving no response from Southwest or Local 556, I emailed the same

 counsel again. On September 22, 2023, Mr. Rider-Longmaid emailed me and responded that

 Southwest does not object to the Fifth Circuit record being the same as the district court record,

 but Southwest is not prepared to agree that the ex parte materials are “material” under Federal

 Rule of Appellate Procedure 10(e)(2)(B). Mr. Rider-Longmaid also communicated that Southwest

 would oppose any attempt to unseal ex parte materials or for Carter or her counsel to have access

 to ex parte materials. Mr. Rider-Longmaid also communicated that Southwest will not oppose

 Carter’s motion if we note that Southwest’s position is that Carter and her counsel do not have a

 right to access the ex parte documents.

    While Mr. Greenfield did not respond to my emails requesting Local 556’s position on this

 motion, this motion involves documents related only to the Contempt Order against Southwest

 (Doc. 467), and Southwest’s appeal of that order (Doc. 470) in Fifth Circuit Case No. 23-10836.

                                              /s/ Matthew B. Gilliam
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                                      Certificate of Service

    I hereby certify that on September 25, 2023, I electronically filed the foregoing document with

 the Clerk of Court by using the CM/ECF system, which will send a notice of electronic filing to

 all counsel of record.


                                             /s/ Matthew B. Gilliam
